Case 2:17-cv-00572-JRG Document 163 Filed 04/03/19 Page 1 of 4 PageID #: 5766




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



IMMERSION CORPORATION,
                                                           Case No. 2:17-CV-00572-JRG
                           Plaintiff,                        LEAD CASE

               v.                                          Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA, INC.;
SAMSUNG ELECTRONICS CO., LTD.                              JURY TRIAL DEMANDED
                           Defendants.


                                          JOINT NOTICE

       Plaintiff Immersion Corporation and Defendants Samsung Electronics America, Inc. and

Samsung Electronics Co, Ltd. (collectively, the “Parties”) file this Joint Notice to inform the Court

that they met and conferred in good faith on April 2, 2019 in an attempt to reach further agreement

on pretrial matters before the upcoming Pretrial Conference on April 22, 2019.         Despite their

efforts, the parties were unable to reach agreement on any of the outstanding motions in limine or

exhibits. The Parties will continue to meet and confer and will inform the Court of any agreements

reached before the Pretrial Conference.



Dated: April 3, 2019                              Respectfully submitted,



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Case 2:17-cv-00572-JRG Document 163 Filed 04/03/19 Page 2 of 4 PageID #: 5767



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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by email

on this the 3rd day of April, 2019.



                                                            /s/ Claire Henry
